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 6                          UNITED STATES DISTRICT COURT
 7                         CENTRAL DISTRICT OF CALIFORNIA
 8
     MICHAEL GRECCO PRODUCTIONS, )               Case No.: 2:20-c-00151 DSF-JC
 9   INC. d/b/a “Michael Grecco              )
     Photography,” a California corporation, )
10                                           )   [PROPOSED] ORDER
                 Plaintiff,                  )   GRANTING MOTION OF
11                                           )   LIVINGLY MEDIA, INC.. FOR
           v.                                )   SUMMARY JUDGMENT
12                                           )
     LIVINGLY MEDIA, INC., a Delaware )
13   Corporation; and DOES 1-10,             )
                                             )
14               Defendants.                 )
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 1         Upon consideration of the briefs, arguments and evidence in support of and in
 2   opposition to the motion for summary judgment of Defendant and Counterclaimant
 3   Livingly Media Inc., (“Livingly”), the Court HEREBY FINDS AND ORDERS AS
 4   FOLLOWS:
 5         Livingly is entitled to judgment against Plaintiff and Counterdefendant Michael
 6   Grecco Productions, Inc. (“Grecco”).
 7         The four photographs at issue in this case (“Photographs”) are promotional
 8   photographs that depict the lead characters in the X-Files and Xena, Warrior Princess.
 9   As such, the photographs are derivative works of the underlying shows, the copyrights
10   to which are owned by the studios. Any rights Grecco may have in those photographs
11   are subject to the studio’s promotional purpose in permitting him to create them.
12   Moreover, he expressly and impliedly licensed these photographs to be used by the
13   media to illustrate commentary on the shows. The custom and practice in the industry
14   was that any such photographs would be widely disseminated to the media precisely so
15   that the media would use them to illustrate commentary on the show. Grecco knew and
16   understood that the photographs would be so disseminated and used, and did not object.
17   Livingly used the Photographs in precisely the intended manner, and were within the
18   scope of the license to the media to use the photographs to illustrate commentary on the
19   shows.
20         Moreover, even if the promotional license to the media had been limited in some
21   way (for example to friendly media or favorable coverage), any such limitation would
22   be abrogated by the fair use doctrine, which is designed to provide more freedom to
23   editorial commentary than the copyright holder might permit. Use by the media of a
24   promotional photograph to illustrate commentary on the underlying television show
25   that the photograph depicts is a fair use.
26         //
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 1        Accordingly, Livingly is entitled to judgment in this case which is hereby
 2   ORDERED DISMISSED WITH PREJUDICE.
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     Dated: _____, 2021
                                   _____________________
 5                                 The Honorable Dale S. Fischer
                                   United States District Judge
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